Case 1:23-cr-00239-CKK Document 18-1 Filed 02/10/22 Page 1 of 7




        Exhibit 1
          Case 1:23-cr-00239-CKK Document 18-1 Filed 02/10/22 Page 2 of 7



Vetted Vendors
====
Name:
Telegram: @
Jabber:        @exploit.im
Product: Debit Cards of all kinds, exchange accounts, etc
Forum Thread:
https://                 .onion


Rating(1-5): 5
Notes: good vendor + selection. courier to UA emspost?


Name:
Telegram:
Jabber:           @exploit.im
Product: QIWI/Yandex Cards
Forum Thread:
https://                .onion

Rating(1-5): 5
Notes: good vendor+forum moderator


Vendors To Try
====

Name:
Telegram: @
Jabber:
Product: BTC exchanger, can exchange for cash in UA Kiev
Forum Thread:
Rating(1-5):
Notes:


Name:
Telegram: @
Jabber:           @xmpp.jp
Product: Bank Debit Cards(UA) on drops
Forum Thread:
https://                .onion/

Rating(1-5):
Notes: can they last long?. Located in Ukraine

Name:
Telegram: @
Jabber:          @exploit.im
          Case 1:23-cr-00239-CKK Document 18-1 Filed 02/10/22 Page 3 of 7



Product: Bank Debit Cards(UA), also Payoneer, Epayments
Forum Thread:
Rating(1-5):
Notes:


Name:
Telegram: @
Jabber:          @exploit.im
Product: Debit cards for white cases
Forum Thread:
https://                .onion/

Rating(1-5):
Notes:


Name: @
Telegram: @
Jabber:
Product: Debit Cards from RU banks
Forum Thread:
https://                .onion/

Rating(1-5):
Notes: long time vendor


Name:
Telegram: @
Jabber:
Product: debit cards with guarantee for keeping funds (up to 300K RUB)
Forum Thread:
https://                .onion

Rating(1-5):
Notes:


Name:
Telegram: @
Jabber:
Product: payoneer accounts
Forum Thread:
https:/                 .onion/

Rating(1-5):
Notes:
Case 1:23-cr-00239-CKK Document 18-1 Filed 02/10/22 Page 4 of 7
          Case 1:23-cr-00239-CKK Document 18-1 Filed 02/10/22 Page 5 of 7



Forum Thread:
https://                .onion

Rating(1-5):
Notes: long time vendor since


Name:
Telegram: @B
Jabber:    @
Product: Bank debit cards on drops, can guarantee 12 months. Also can make cards for
our scans.
Forum Thread:
https://                .onion

Rating(1-5):
Notes: uses a variety of couriers like Dimex, DHL

Name:
Telegram: @
Product: Reliable debit cards
Rating: 3
Notes: Delivered from spb to Kiev fast!

Name:
Telegram: @
Jabber:
Product: Debit cards for drops, 3 months guarantee
Forum
Thread:https://                .onion/

Rating(1-5):
Notes:

Name:
Product: quality longterm debit cards
Jabber:              @
Notes:                , good for long term. has corp cards

Telegram: @
Direct yandex vendor, others are resellers


EU Digital Currency Accounts
======

Name:
Telegram:
Jabber:             @exploit.im
Product: Cards for your scans/name, EXCHANGE ACCOUNT VERIFICATION, Payoneer/Skrill
Case 1:23-cr-00239-CKK Document 18-1 Filed 02/10/22 Page 6 of 7
          Case 1:23-cr-00239-CKK Document 18-1 Filed 02/10/22 Page 7 of 7



Rating(1-5): 4
Notes: longtime vendor/advertiser

Passports/ Documents
=====
Name:
Telegram: @
Jabber:           @exploit.im
Product: Ukraine internal passport fakes/photo paste
Forum Thread:
https://                .onion/
Rating(1-5): 4
Notes: internal delivery in Ukraine via Novaya Pochta. Site to verify passport
status: https://nd.dmsu.gov.ua/
